Case 2:14-cr-00069-JDL Document 422 Filed 10/17/14 Page 1 of 4             PageID #: 911




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
 v.                                         )
                                            ) No. 2:14-cr-69-JDL
 DIMITRY GORDON,                            )
                                            )
                                            )
                      Defendant.            )
                                            )


      ORDER ON DEFENDANT’S MOTION FOR RECONSIDERATION OF
                      DETENTION ORDER

       Defendant Dimitry Gordon has moved for reconsideration of the detention

order entered on May 30, 2014 (ECF No. 179), and requests his immediate release.

The United States opposes the motion.

       The Bail Reform Act of 1984, 18 U.S.C. § 3142(f) (2008), establishes the

circumstances in which a detention order may be reconsidered:

       The hearing may be reopened, before or after a determination by the
       judicial officer, at any time before trial if the judicial officer finds that
       information exists that was not known to the movant at the time of the
       hearing and that has a material bearing on the issue whether there are
       conditions of release that will reasonably assure the appearance of such
       person as required and the safety of any other person and the
       community.

Gordon cites four grounds in support of his motion which I will consider in relation to

the standard set forth in § 3142(f).

       First, Gordon asserts that the detention order placed substantial reliance on a

charge of disorderly conduct pending against him in Auburn, Maine, and that, even
Case 2:14-cr-00069-JDL Document 422 Filed 10/17/14 Page 2 of 4                                 PageID #: 912




prior to the detention hearing, the prosecutor responsible for the case decided not to

pursue it. He also asserts that the detention order incorrectly characterized the

charge as a “conviction.”

        Gordon is correct that the detention order mischaracterized the disorderly

conduct charge as a “conviction.” The significance of the disorderly conduct charge to

the court’s detention decision, however, was not that it resulted in a conviction, but

rather that it involved an incident in which Gordon was non-cooperative at the time

of his arrest and had to be subdued by the use of a Taser gun. The facts that the

prosecutor decided not to prosecute the disorderly conduct charge and that it will not

result in a conviction do not alter the fact that Gordon was non-cooperative and had

to be subdued.1

        Second, Gordon asserts that the detention order “stressed” that “Gordon is

facing removal from the United States by ICE.” Gordon contends that he has met

regularly with ICE and has not faced removal, as evidenced by Exhibit B to his motion

which reflects that he met with representatives of the Department of Homeland

Security on December 2, 2013; March 31, 2014; and May 5, 2014. This information

concerning Gordon’s meetings with ICE predates the detention order entered May 30,

2014. It does not call into question my finding that Gordon faces removal from the

United States by ICE.




1
 I am not persuaded by and do not adopt the testimony of private investigator John Bauer, who testified that a
person, known only by the pseudonym or nickname “Kin Kin,” told him that Gordon did not resist arrest or fight
with the officers, and that Gordon was tasered by the police “for no good reason.”
Case 2:14-cr-00069-JDL Document 422 Filed 10/17/14 Page 3 of 4           PageID #: 913




      Third, Gordon asserts, based on the process that has occurred since May 30,

2014, that it appears that his pretrial detention will be “prolonged.” As of today,

Gordon has been detained since May 22, 2014, a period just short of five months. His

current detention does not present circumstances giving rise to a possible violation of

his Due Process rights. See United States v. Zannino, 798 F.2d 544, 548 (1st Cir. 1986)

(assuming that “in many, perhaps most, cases, sixteen months would be found to

exceed the due process limitations on the duration of pretrial confinement”). Gordon

may, of course, seek relief in the future if his pretrial detention becomes so prolonged

that, based upon relevant precedent, a credible Due Process violation may be

asserted.

      Fourth, Gordon asserts that the discovery provided by the government is “even

more extensive than the defense anticipated at the time of the hearing on the motion

for detention” and it is “not practicable” for his attorney to review discovery with him

at the Cumberland County Jail. Other than this blanket assertion, Gordon offers no

support for the proposition that any difficulties he and his counsel have experienced

at the Cumberland County Jail are sufficiently serious as to substantially interfere

with his ability to prepare his defense.

      Because I conclude that Gordon’s motion does not establish grounds supporting

the reopening of the detention hearing previously held in this case, the motion is

denied.
Case 2:14-cr-00069-JDL Document 422 Filed 10/17/14 Page 4 of 4   PageID #: 914




     SO ORDERED.

                                         /s/ Jon D. Levy
                                         United States District Judge

     Dated this 17th day of October, 2014.
